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10                                 UNITED STATES DISTRICT COURT

11                              NORTHERN DISTRICT OF CALIFORNIA

12                                            SAN JOSE DIVISION

13

14   CUNG LE, NATHAN QUARRY, JON FITCH,                       Case No. 5:14-cv-05484-EJD
     ON BEHALF OF THEMSELVES AND ALL
15   OTHERS SIMILARLY SITUATED,                               PROOF OF SERVICE OF SUMMONS AND
                                                              COMPLAINT ON ZUFFA, LLC
16                          Plaintiffs,

17          v.

18   ZUFFA, LLC, d/b/a Ultimate Fighting
     Championship and UFC,
19
                            Defendant.
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     Case No. 5:14-cv-05484-EJD
                              PROOF OF SERVICE OF SUMMONS AND COMPLAINT ON ZUFFA, LLC
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